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 1   Brian Brazier, Esq. (SBN: 245004)
     Price Law Group, APC
 2   8245 North 85th Way
 3
     Scottsdale, AZ 85258
     T: (818) 600-5587
 4   F: (818) 600-5464
 5
     E: brian@pricelawgroup.com

 6   Lauren Tegan Rodkey, Esq. (SBN: 275830)
     Price Law Group, APC
 7   6345 Balboa Blvd, Suite 247
 8   Encino, CA 91316
     T: (818) 600-5526
 9   F: (818) 600-5426
10   E: tegan@pricelawgroup.com

11   Attorneys for Plaintiff,
12   Michele Turley-Jackson

13                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
14
15                                                Case No. 2:18-cv-8360
     MICHELE TURLEY-JACKSON,
16
                  Plaintiff,                      COMPLAINT AND DEMAND FOR
17                                                JURY TRIAL
     v.
18
                                                      1. TCPA, 47 U.S.C. § 227 et. seq.
19                                                    2. FDCPA, 15 U.S.C. § 1692 et. seq.
     ALLIED INTERSTATE, LLC.,                         3. RFDCPA, Cal. Civ. Code § 1788
20                                                       et. seq.
                  Defendant.                          4. Intrusion Upon Seclusion
21                                                    5. Cal. Civ. Code § 3294
22
                                                  (Unlawful Debt Collection Practices)
23
                    COMPLAINT AND DEMAND FOR JURY TRIAL
24
25         Plaintiff Michele Turley-Jackson (“Plaintiff”), through her attorneys, alleges the
26
     following against Allied Interstate, LLC, (“Defendant” or “Allied”):
27
28
                                                -1-
                                COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                    INTRODUCTION

 2
       1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
 3
            Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that
 4
 5          broadly regulates the use of automated telephone equipment. Among other
 6
            things, the TCPA prohibits certain unsolicited marketing calls, restricts the use
 7
            of automatic dialers or prerecorded messages, and delegates rulemaking authority
 8
 9          to the Federal Communications Commission (“FCC”).
10
       2. Count II of Plaintiff’s Complaint is based upon the Fair Debt Collection Practices
11
            Act (“FDCPA”), 15 U.S.C. § 1692 et seq., which prohibits debt collectors from
12
13          engaging in abusive, deceptive, and unfair practices in connection with the
14
            collection of consumer debts.
15
       3. Count III of Plaintiff’s Complaint is based upon Rosenthal Fair Debt Collection
16
17          Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788, which prohibits debt
18
            collectors from engaging in abusive, deceptive and unfair practices in connection
19
            with the collection of consumer debts.
20
21     4.   Count IV of Plaintiff’s Complaint is based upon the Invasion of Privacy –
22          Intrusion Upon Seclusion, as derived from § 652B of the Restatement (Second)
23
            of Torts. § 652B prohibits an intentional intrusion, “physically or otherwise,
24
25          upon the solitude or seclusion of another or his private affairs or concerns… that
26          would be highly offensive to the reasonable person.”
27
28
                                                 -2-
                               COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:18-cv-08360-PA-SK Document 1 Filed 09/27/18 Page 3 of 15 Page ID #:3




 1     5. Count V of Plaintiff’s Complaint is based upon Exemplary Damages, Cal. Civ.

 2        Code § 3284, which allows a Plaintiff to recover punitive damages “where it is
 3
          proven by clear and convincing evidence that the defendant has been guilty of
 4
 5
          oppression, fraud, or malice.”

 6                             JURISDICTION AND VENUE
 7
       6. Jurisdiction of the court arises under 28 U.S.C. § 1331 and 47 U.S.C. § 227.
 8
 9     7. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of the
10
          events or omissions giving rise to the claim occurred in this District.
11
       8. Defendants transact business here; therefore, personal jurisdiction is established.
12
13                                         PARTIES
14
       9. Plaintiff is a natural person residing in California.
15
16     10. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

17     11. Plaintiff is a “debtor” as defined by Cal. Civ. Code § 1788.2(h).
18
       12. Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
19
20     13. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).

21     14. At all relevant times herein, Defendant, Allied Interstate, LLC, was a company
22
          engaged, by use of mails and telephone, in the business of collecting a debt from
23
24        Plaintiff which qualifies as a “debt,” as defined by 15 U.S.C. § 1692a(5).
25     15. Defendant is a debt collector with its principal place of business located in
26
          Plymouth, Minnesota. Defendant can be served with process through its
27
28        designated agent, CT Corporation System, at 818 West Seventh Street, Suite 930,
                                                 -3-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:18-cv-08360-PA-SK Document 1 Filed 09/27/18 Page 4 of 15 Page ID #:4




 1        Los Angeles, CA 90017.

 2     16. Defendant acted through its agents, employees, officers, members, directors,
 3
          heirs,   successors,    assigns,   principals,   trustees,   sureties,   subrogees,
 4
 5
          representatives, and insurers.

 6                               FACTUAL ALLEGATIONS
 7
       1. Defendant is attempting to collect an alleged debt from Plaintiff.
 8
 9     17. In or around December of 2017, Defendant began placing calls to Plaintiff’s
10
          cellular phone number ending in 7631, in an attempt to collect an alleged debt.
11
       18. The calls placed by Defendant mainly originated from (866) 466-4502. Upon
12
13        information and belief, these phone numbers are owned, operated or controlled
14
          by Defendant or its agent(s).
15
       19. On or about January 11, 2018, at 3:48 p.m., Plaintiff received a phone call from
16
17        Defendant; Plaintiff heard a short pause before one of Defendant’s agents began
18
          to speak, indicating the use of an automated telephone dialing system.
19
       20. During this conversation, Plaintiff spoke to a representative, Sonia, who indicated
20
21        that Defendant was attempting to collect a debt; Plaintiff clearly stated to the
22        representative that she wanted Defendant to stop calling her.
23
       21. That request was ignored as Plaintiff continued to receive phone calls from the
24
25        Defendant throughout the month of January 2018.
26
27
28
                                                 -4-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:18-cv-08360-PA-SK Document 1 Filed 09/27/18 Page 5 of 15 Page ID #:5




 1     22. On or about February 12, 2018, at 8:29 a.m., Plaintiff received a call from

 2        Defendant; Plaintiff heard a short pause before one of Defendant’s agents began
 3
          to speak, indicating the use of an automated telephone dialing system.
 4
       23. During this conversation, Plaintiff spoke to a representative, who indicated that
 5
 6        Defendant was attempting to collect a debt; Plaintiff, for the second time, told the
 7
          representative that she wanted the calls to her cell phone to stop.
 8
       24. There were several occasions where the Defendant called the Plaintiff multiple
 9
10        times in one day.
11
              a. On or about January 19, 2018 Plaintiff received three (3) calls from
12
                 Defendant at 8:05 a.m., 9:38 a.m., and 1:06 p.m.;
13
14            b. On or about January 23, 2018 Plaintiff received four (4) calls from
15
                 Defendant at 8:16 a.m., 9:27 a.m., 10:59 a.m., and 12:00 p.m.;
16
              c. On or about February 9, 2018, Plaintiff received three (3) calls from
17
18               Defendant at 8:16 a.m., 9:38 a.m., and 3:20 p.m.
19
       25. The Federal Communications Commission (“FCC”) noted in its 2003 TCPA
20
          Order that a predictive dialer is “equipment that dials numbers and, when certain
21
22        computer software is attached, also assists telemarketers in predicting when a
23
          sales agent will be available to take calls. The hardware, when paired with certain
24
          software, has the capacity to store or produce numbers and dial those numbers at
25
26        random, in sequential order, or from a database of numbers.” 2003 TCPA Order,
27
          18 FCC Rcd at 14091, para. 131.
28
                                                -5-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:18-cv-08360-PA-SK Document 1 Filed 09/27/18 Page 6 of 15 Page ID #:6




 1     26. The FCC further explained that the “principal feature of predictive dialing

 2        software is a timing function, not number storage or generation.” Id.
 3
       27. Finally, the FCC stated that “a predictive dialer falls within the meaning and
 4
 5
          statutory definition of ‘automatic telephone dialing equipment’ and the intent of

 6        Congress.” Id. at 14091-92, paras. 132-33.
 7
       28. Defendant attempted to predict when Plaintiff was available by calling her at 8:07
 8
 9
          a.m. (January 16, 2018), 8:04 a.m. (January 17, 2018), 8:07 a.m. (January 18,

10        2018), 8:05 a.m. (January 19, 2018), and 8:16 a.m. (January 23, 2018).
11
       29. The Defendant’s conduct of attempting to predict when Plaintiff was available is
12
          further illustrated throughout the call history between December 2017 and
13
14        February 2018.
15
       30. Between January 11, 2018 and February 12, 2018, Defendant called Plaintiff
16
          approximately seventy-five (75) times.
17
18     31. Between December 2017 to February 12, 2018, Defendant called Plaintiff
19
          approximately one-hundred (100) times.
20
       32. Defendant’s calls were excessive and done with the purpose of attempting to
21
22        harass Plaintiff into making a payment on the account.
23
       33. The calls violated the FDCPA and RFDCPA in multiple ways, including but not
24
          limited to:
25
26
27
28
                                                -6-
                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1            a. Engaging in conduct the natural consequence of which is to harass,

 2                oppress or abuse any person in connection with the collection of a debt
 3
                  (15 U.S.C. § 1692d);
 4
 5
              b. Using unfair or unconscionable means in an attempt to collect a debt (15

 6                U.S.C. § 1692f);
 7
              c. Causing a telephone to ring or engaging any person in telephone
 8
 9
                  conversation repeatedly or continuously with intent to annoy, abuse, or

10                harass any person at the called number (15 U.S.C. § 1692d(5));
11
              d. Causing a telephone to ring repeatedly or continuously to annoy the person
12
                  called (Cal. Civ. Code § 1788.11(d));
13
14            e. By collecting or attempting to collect a consumer debt and not complying
15
                  with Sections 1692b to 1692j of the FDCPA (Cal. Civ. Code § 178817).
16
       34. The conduct was not only willful but was done with the intention of causing
17
18        Plaintiff such distress, so as to induce her to pay the debt.
19
       35. Further, the conduct was done with such frequency so as to harass Plaintiff.
20
       36. Plaintiff works as a substitute teacher and as a tutor.
21
22     37. The repeated phone calls from Defendant would interrupt Plaintiff’s work
23
          causing her to lose focus on her classes and her students.
24
       38. Plaintiff also suffers from anxiety and depression and takes medication for these
25
26        conditions.
27
28
                                                  -7-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
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 1     39. Plaintiff has had to increase her medications to treat the ongoing stress, anxiety,

 2        and depression caused by Defendant’s calls.
 3
       40. As a result of Defendant’s conduct, Plaintiff has sustained actual damages
 4
 5
          including but not limited to, stress, anxiety, embarrassment, emotional and

 6        mental pain and anguish.
 7
                                           COUNT I
 8
 9                       (Violations of the TCPA, 47 U.S.C. § 227)
10
       41. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
11
          as though fully stated herein.
12
13     42. Defendant violated the TCPA. Defendant’s violations include, but are not limited
14
          to the following:
15
              a. Within four years prior to the filing of this action, on multiple occasions,
16
17               Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in
18
                 pertinent part, “It shall be unlawful for any person within the United States
19
                 . . . to make any call (other than a call made for emergency purposes or
20
21               made with the prior express consent of the called party) using any
22               automatic telephone dialing system or an artificial or prerecorded voice
23
                 — to any telephone number assigned to a . . . cellular telephone service .
24
25               . . or any service for which the called party is charged for the call.
26            b. Within four years prior to the filing of this action, on multiple occasions,
27
                 Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s
28
                                                 -8-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
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 1               cellular telephone using an artificial prerecorded voice or an automatic

 2               telephone dialing system and as such, Defendants knowing and/or
 3
                 willfully violated the TCPA.
 4
       43. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to
 5
 6        an award of five hundred dollars ($500.00) in statutory damages, for each and
 7
          every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that
 8
 9
          Defendants knowingly and/or willfully violated the TCPA, Plaintiff is entitled to

10        an award of one thousand five hundred dollars ($1,500.00), for each and every
11
          violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
12
                                          COUNT II
13
14
                           (Violations of the FDCPA, 15 U.S.C. § 1692)
15
       44. Plaintiffs incorporates herein by reference all of the above paragraphs of this
16
17        complaint as though fully set forth herein at length.
18
       45. Defendant violated the FDCPA. Defendant’s violations include, but are not
19
          limited to, the following:
20
21            a. Defendant violated the FDCPA by collecting or attempting to collect a
22               consumer debt without complying with the provisions of Sections 1692b
23
                 to 1692j, inclusive, of Title 15 of the United States Code (Fair Debt
24
25               Collection Practices Act).
26
27
28
                                                -9-
                             COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:18-cv-08360-PA-SK Document 1 Filed 09/27/18 Page 10 of 15 Page ID #:10




 1            b. Defendant violated 15 U.S.C. § 1692d by causing a telephone to ring or

 2                engaging any person in telephone conversation repeatedly or continuously
 3
                  with intent to annoy, abuse, or harass any person at the called number.
 4
 5
              c. Defendant violated 15 U.S.C. § 1692f by using unfair or unconscionable

 6                means in connection with the collection of an alleged debt.
 7
        46. Defendant’s acts, as described above, were done knowingly and willfully.
 8
        47. As a result of the foregoing violations of the FDCPA, Defendant is liable to
 9
10         Plaintiffs for declaratory judgment that Defendant’s conduct violated the
11
           FDCPA, actual damages, statutory damages, and attorney’s fees and costs.
12
                                          COUNT III
13
14            (Violation of the Rosenthal Fair Debt Collection Practices Act,
                                  CAL. CIV. CODE § 1788)
15
16      48. Plaintiff incorporates herein by reference all of the above paragraphs of this
17
           Complaint as though fully set forth herein at length.
18
        49. Defendant violated the RFDCPA. Defendants violations include, but are not
19
20         limited to, the following:
21
              a. Defendant violated Cal. Civ. Code § 1788.11(d) by causing a telephone to
22
                  ring repeatedly or continuously to annoy the person called;
23
24            b. Defendant violated Cal. Civ. Code § 1788.17 by collecting or attempting
25
                  to collect a consumer debt without complying with the provisions of
26
                  Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States
27
28                Code (Fair Debt Collection Practices Act).
                                                - 10 -
                              COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:18-cv-08360-PA-SK Document 1 Filed 09/27/18 Page 11 of 15 Page ID #:11




 1                    i. Defendants violated Cal. Civ. Code § 1788.17 by violating 15

 2                       U.S.C. § 1692d by engaging in conduct, the natural consequence
 3
                         of which is to harass, oppress or abuse any person in connection
 4
 5
                         with the collection of the alleged debt; and

 6                    ii. Defendant violated Cal. Civ. Code § 1788.17 by violating 15
 7
                         U.S.C. § 1692d(5) by causing Plaintiff’s phone to ring or engaging
 8
 9
                         Plaintiff in telephone conversations repeatedly;

10                   iii. Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
11
                         U.S.C. § 1692f by using unfair or unconscionable means in
12
                         connection with the collection of an alleged debt; and
13
14      50. Defendant’s acts, as described above, were done intentionally with the purpose
15
           of coercing Plaintiff to pay the alleged debt.
16
        51. As a result of the foregoing violations of the RFDCPA, Defendants are liable to
17
18         Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.
19
                                           COUNT IV
20
                                   (Intrusion Upon Seclusion)
21
22      52. Plaintiff incorporates herein by reference all of the above paragraphs of this
23
           Complaint as though fully set forth herein at length.
24
        53. Restatement of the Law, Second, Torts § 652(b) defines intrusion upon seclusion
25
26         as, “One who intentionally intrudes…upon the solitude or seclusion of another,
27
28
                                                 - 11 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1         or his private affairs or concerns, is subject to liability to the other for invasion of

 2         privacy, if the intrusion would be highly offensive to a reasonable person.”
 3
        54. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are
 4
 5
           not limited to, the following:

 6             a. Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s
 7
                  solitude and seclusion by engaging in harassing phone calls in an attempt
 8
 9
                  to collect on an alleged debt despite numerous requests for the calls to

10                cease.
11
               b. The number and frequency of the telephone calls to Plaintiff by Defendant
12
                  after several requests for the calls to cease constitute an intrusion on
13
14                Plaintiff’s privacy and solitude.
15
               c. Defendant’s conduct would be highly offensive to a reasonable person as
16
                  Plaintiff received calls that often-interrupted Plaintiff’s work schedule.
17
18             d. Defendant’s acts, as described above, were done intentionally with the
19
                  purpose of coercing Plaintiff to pay the alleged debt.
20
        55. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to
21
22         Plaintiff for actual damages.
23
                                             COUNT V
24
                           (Exemplary Damages – Punitive Damages)
25
26      56. Plaintiff incorporates herein by reference all of the above paragraphs of this
27
           Complaint as though fully set forth herein at length.
28
                                                  - 12 -
                               COMPLAINT AND DEMAND FOR JURY TRIAL
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 1      57. Cal. Civ. Code § 3294(a) allows a Plaintiff to recover punitive damages “where it

 2         is proven by clear and convincing evidence that the defendant has been guilty of
 3
           oppression, fraud, or malice.”
 4
        58. Cal. Civ. Code § 3294(c)(1) defines “malice” as “conduct which is intended by
 5
 6         the defendant to cause injury to the plaintiff or despicable conduct which is
 7
           carried on by the defendant with a willful and conscious disregard for the safety
 8
 9
           of others.

10      59. Cal. Civ. Code § 3294(c)(2) defines “oppression” as “despicable conduct that
11
           subjects a person to cruel and unjust hardship in conscious disregard of that
12
           person’s rights.”
13
14      60. Plaintiff is informed and believes that the aforesaid conduct was malicious and
15
           oppressive, as those terms are defined by Cal. Civ. Code §§ 3294(c)(1) and
16
           3294(c)(2), as Defendant’s conduct was done in complete conscious disregard of
17
18         Plaintiff’s rights.
19
        61. Defendant was aware that Plaintiff had requested to not be called on her cell
20
           phone and Defendant continued its bombardment of harassing phone calls to
21
22         Plaintiff in violation of the TCPA, FDCPA, RFDCPA and Plaintiff’s privacy
23
           rights.
24
        62. As a result of Defendant’s conduct and violations, Defendant is liable to Plaintiff
25
26         for punitive damages.
27
                                     PRAYER FOR RELIEF
28
                                                 - 13 -
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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 1         WHEREFORE, Plaintiff Michele Turley-Jackson respectfully requests

 2   judgment be entered against Defendant, Allied Interstate, LLC, for the following:
 3
               A. Declaratory judgment that Defendant violated the FDCPA and RFDCPA;
 4
 5
               B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

 6             C. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
 7
               D. Cost and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k(a)(3);
 8
 9
               E. Statutory damages of $1,000.00 pursuant to the RFDCPA, Cal. Civ. Code

10                §1788.30(b);
11
               F. Actual damages pursuant to Cal. Civ. Code §1788.30(a);
12
               G. Costs and reasonable attorneys’ fees pursuant to the RFDCPA, Cal. Civ.
13
14                Code §1788.30(c);
15
               H. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
16
                  227(b)(3)(C);
17
18             I. Punitive damages to be determined at trial, for the sake of example and
19
                  punishing Defendant for their malicious conduct, pursuant to Cal. Civ.
20
                  Code § 3294(a).
21
22             J. Awarding Plaintiff any pre-judgment and post-judgment interest as may
23
                  be allowed under the law; and
24
               K. Any other relief that this Honorable Court deems appropriate.
25
26
27
                                  DEMAND FOR JURY TRIAL
28
                                                - 14 -
                              COMPLAINT AND DEMAND FOR JURY TRIAL
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 1         Please take notice that Plaintiff demands a trial by jury in this action.

 2
 3
                                                          RESPECTFULLY SUBMITTED,
 4
 5
        Dated: September 27, 2018
                                                           By: /s/ Brian Brazier_________
 6                                                         Brian Brazier, Esq. (SBN: 245004)
 7
                                                           Price Law Group, APC
                                                           8245 North 85th Way
 8                                                         Scottsdale, AZ 85258
 9                                                         T: (818) 600-5587
                                                           F: (818) 600-5464
10                                                         E: brian@pricelawgroup.com
11                                                         Attorneys for Plaintiff,
                                                           Michele Turley-Jackson
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                              COMPLAINT AND DEMAND FOR JURY TRIAL
